17-36789-cgm      Doc 73     Filed 04/01/19    Entered 04/01/19 16:20:09         Main Document
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                                                         Return date:               April 30, 2019
                                                                                          9:30 a.m.

                           UNITED STATES BAN KRUPTCY COURT
                            SOUTHERN DISTRICT OF NEW YORK

_____________________________________X
In re:                                                        Chapter 13
                                                              Case No 17-36789- (cgm)
       Marc D. Kessman,

                  Debtor(s).
_____________________________________X

                NOTICE OF MOTION FOR AN ORDER PURSUANT TO
         11 U.S.C. §§363(b)(1) AND 363(f)(3) AUTHORIZING DEBTOR’S SALE

        PLEASE TAKE NOTICE, that upon the annexed motion of Matthew G. Cascioli, (“the
debtor"), by his attorneys, The Law Offices of Francis J. O’Reilly, dated February 26, 2019, the
undersigned will move before United States Bankruptcy Judge Cecelia G. Morris, at the United
States Bankruptcy Court, Southern District of New York, 355 Main Street, Poughkeepsie, New
York, 12601, on April 30, 2019 at 9:30 a.m. (the "Hearing"), or as soon thereafter as counsel
can be heard, for an Order authorizing the debtors to sell their right, title and interest in and to
their property located at 70 Athena Court, Mahopac, New York 10541.

        PLEASE TAKE FURTHER NOTICE that responsive papers, if any, are to be served
on the undersigned and filed with the court no later than seven (7) days prior to the return date of
this motion and filed with the court along with proof of service and must comply with the
Bankruptcy Court's electronic filing system in accordance with General Order M-242 and
Supplemental Order M-269.

        PLEASE TAKE FURTHER NOTICE, that the Proposed Order may be modified
at or prior to the Hearing to accommodate objections thereto by interested parties or for any other
reason whatsoever and that, at the Hearing, the Court may enter such Order as it deems
appropriate in accordance with applicable law and required by the circumstances and equities of
the case.

Dated: Carmel, New York
March 29, 2019

By:     /s/ Frank J. Corigliano                       Frank J. Corigliano (FC2742)
                                                      Office of Francis J. O’Reilly
                                                      Attorney for Debtor
                                                      1961 Route 6
                                                      Carmel, NY 10512
                                                      (845) 225-5800
